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                                  UNITED STATES COURT OF APPEALS
                                       FOR THE SIXTH CIRCUIT
                                      100 EAST FIFTH STREET, ROOM 540
    Kelly L. Stephens                POTTER STEWART U.S. COURTHOUSE                          Tel. (513) 564-7000
          Clerk                          CINCINNATI, OHIO 45202-3988                        www.ca6.uscourts.gov

                                                 Filed: August 16, 2024




Ms. Ann E. Filkins
U.S. District Court
for the Western District of Michigan at Grand Rapids
110 Michigan Street, N.W.
Suite 399 Federal Building
Grand Rapids, MI 49503-0000

                    Re: Case No. 23-1671, Dana Nessel v. Enbridge Energy, LP, et al
                        Originating Case No. 1:21-cv-01057

Dear Ms. Filkins:

   Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Patricia J. Elder, Senior Case Manager
                                                  for Sharday Swain, Case Manager

cc: Mr. Daniel Paul Bock
    Mr. Andrew Buchsbaum
    Mr. John J. Bursch
    Mr. Christopher Robert Clark
    Mr. David Hyler Coburn
    Mr. Phillip J. DeRosier
    Mr. Joseph T. Heegaard
    Mr. Elbert Lin
    Ms. Alice Elizabeth Loughran
    Mr. Jonathan D. Newman
    Mr. James Mark Olson
    Mr. Mark Christopher Savignac
    Ms. Kaitlyn D. Shannon
    Mr. Jeffery V. Stuckey
    Mr. Keith David Underkoffler

Enclosure
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                                        UNITED STATES COURT OF APPEALS
                                             FOR THE SIXTH CIRCUIT

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                                                No: 23-1671
                                             ________________

                                                                      Filed: August 16, 2024

DANA NESSEL, Attorney General of the State of Michigan, on behalf of the people of the State of Michigan

                Plaintiff - Appellant

v.

ENBRIDGE ENERGY, LP; ENBRIDGE ENERGY COMPANY, INC.; ENBRIDGE ENERGY PARTNERS,
L.P.

                Defendants - Appellees

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AMERICAN PETROLEUM INSTITUTE; NATIONAL PROPANE GAS ASSOCIATION; LIQUID ENERGY
PIPELINE ASSOCIATION; MICHIGAN PROPANE GAS ASSOCIATION; OHIO PROPANE GAS
ASSOCIATION; INDIANA PROPANE GAS ASSOCIATION



                                                    MANDATE

     Pursuant to the court's disposition that was filed 06/17/2024 the mandate for this case hereby

issues today.



COSTS: None
